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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                                         
DEMAR PARKER,

                   Plaintiff,
                                               Case No.: 16-cv-13036
v.                                             Honorable Gershwin A. Drain



CITY OF DETROIT, et al.,

             Defendants.
___________________________/

      ORDER STRIKING DEFENDANTS’ MOTION TO DISMISS [#5]

      Presently before the Court is the Defendants’ Motion to Dismiss, filed on

October 20, 2016. Upon review of Defendants’ present motion; it is evident that

Defendants failed to abide by this Court’s local rules concerning the filing of

briefs. Specifically, Local Rule 5.1(3) requires that “type size of all text and

footnotes . . . be no smaller than 10-1/2 characters per inch (non-proportional) or

14 point (proportional).” E.D. Mich. L.R. 5.1(3)(emphasis added). Additionally, it

appears that if Defendants had abided by Rule 5.1(3), their brief would violate

Rule 7.1(d)(3), which does not permit briefs in excess of 25 pages. See E.D. Mich.

L.R. 7.1(d)(3).

      Accordingly, Defendants’ Motion to Dismiss [#5] is STRICKEN.
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Defendants shall re-submit a Motion to Dismiss in compliance with this Court’s

local rules no later than Thursday, October 27, 2016.

      SO ORDERED.

Dated: October 25, 2016                            /s/Gershwin A. Drain
                                                   GERSHWIN A. DRAIN
                                                   United States District Judge




                          CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
              October 25, 2016, by electronic and/or ordinary mail.
                                /s/ Tanya Bankston
                                    Deputy Clerk


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